      Case 3:19-cv-00001 Document 27 Filed on 04/05/19 in TXSD Page 1 of 16



                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  GALVESTON DIVISION

Keri Womack, individually, on                           §
Behalf of all wrongful death                            §
Beneficiaries, and as the heir and                      §
Representative of the Estate of                         §
Sawyer Letcher,                                         §
              Plaintiff,                                §
                                                        §        Cause No. 3:19-cv-000001
v.                                                      §
                                                        §
University of Texas Medical                             §
Branch and Texas Department                             §
of Criminal Justice,                                    §
             Defendants.                                §


             Defendants’ Joint Reply in Support of Motion to Transfer Venue

        The Texas Department of Criminal Justice (TDCJ) and The University of Texas

Medical Branch at Galveston (UTMB) jointly file this reply in support of their motion for

transfer of venue to the Eastern District of Texas, Tyler Division.

                                                    Reply

I.      Deference Need Not be Given to Plaintiff’s Choice of Venue, 414 miles from
        her Home, Where the Chosen Forum Has No Factual Nexus to the Case.

        The Fifth Circuit has clearly stated that a plaintiff's choice of forum is a factor to be

considered, but that in and of itself this factor is neither conclusive nor determinative. In

re Horseshoe Entertainment; 305 F.3d 354, 359 (5th Cir. 2002) (citing Garner v.

Wolfinbarger, 433 F.2d 117, 119 (5th Cir. 1970)) (emphasis added). The general rule that

the plaintiff's choice of forum is not to be disturbed does not obtain where it is clearly

outweighed by other factors. Mizell v. Prism Computer Corp., 27 F.Supp.2d 708, 713 (S.D.

Defendants’ Joint Reply in Support of Motion to Transfer Venue                         Page 1 of 16
      Case 3:19-cv-00001 Document 27 Filed on 04/05/19 in TXSD Page 2 of 16



Miss. 1998) (citing Howell v. Tanner, 650 F.2d 610, 616 (5th Cir. 1981)). Where the

plaintiff's chosen forum has no factual nexus to the case, that choice carries little

significance if other factors weigh in favor of transfer. Hanby v. Shell Oil Co., 144

F.Supp.2d 673, 677 (E.D.Tex. 2001) (citing Robertson v. Kiamichi R.R. Co., 42 F.Supp.2d

at 656 (E.D.Tex. 1999)) (emphasis added). And even where a plaintiff's choice of forum is

factually justified, this Court gives that choice “close scrutiny” where, like in this case, the

plaintiff does not live within the Division of the Court. Dearing v. Sigma Chem. Co., 1

F.Supp.2d 660, 665 (S.D.Tex. 1998) (citing United Sonics, Inc. v. Shock, 661 F.Supp. 681,

682–83 (W.D.Tex. 1986)) (emphasis added).

        Plaintiff is incorrect that her choice of venue 414 miles from her own home should

be given deference in this case. As explained further in the proceeding sections, Plaintiff

does not identify key witnesses located in the Southern District nor, more importantly, why

the Southern District is factually justified in this case where the primary events complained

of all occurred at the Hodge Unit in the Eastern District.

II.     Plaintiff’s Proposed Grounds for Denying Defendants’ Motion to Transfer
        Venue are Meritless and Effectively Subjects this Court to all Inmate Litigation
        Within this State.

        Plaintiff’s first of the two primary reasons she presents as to why Defendants’

Motion should be denied is that Defendants’ policymakers reside in the Southern District.

ECF No. 22:3-4, 10-11. As stated in Defendants’ motion, Plaintiff has not brought a claim

that either UTMB or TDCJ’s policies were deficient or otherwise flawed. See ECF No. 1.

Plaintiff’s Response does not cite to her complaint in rebuttal to this argument. Indeed,

“policy” or “policies” is not mentioned a single time in Plaintiff’s complaint, much less


Defendants’ Joint Reply in Support of Motion to Transfer Venue                       Page 2 of 16
      Case 3:19-cv-00001 Document 27 Filed on 04/05/19 in TXSD Page 3 of 16



referenced anywhere in the statement of facts. See id. And the word “policymaker” is stated

exactly three times: once each for both UTMB and TDCJ to assert venue is proper because

these agencies’ policymakers reside in the Southern District and once to state TDCJ

policymakers contract with UTMB policymakers in Galveston and Huntsville to provide

medical and psychiatric care to TDCJ inmates. Id. at ¶¶11, 12, 59.

        It is important to note that whether the state agency failed to make reasonable

accommodations for the disabled plaintiff is one factor that is generally always considered

in a suit under the ADA/RA. See, e.g., McCoy v. Tex. Dept. of Crim. Justice, 2006 WL

2331055 (S.D.Tex. 2006). A claim that a state agency denied reasonable accommodations

logically involves, at a minimum, some discussion of policies in place at the time;

particularly in suits involving TDCJ or UTMB. And even though this is the case, the

overwhelming amount of case law in which an offender sues for an ADA/RA violation it

can be readily seen that the proper venue is the TDCJ unit where the events took place.

Hinojosa v. Livingston, 994 F. Supp. 2d 840, 841 (S.D.Tex. 2014) (ADA/RA claims

brought by Plaintiff’s counsel in Southern District for events occurring at the Garza West

Unit in Beeville, Texas); Nottingham v. Richardson, 499 Fed. Appx. 368, 370 (5th Cir.

2012) (ADA/RA claims brought in Northern District for events occurring in Randall

County Jail); McCoy v. Texas Dept. of Criminal Justice, C.A.C 05 370, 2006 WL 2331055,

at *1 (S.D. Tex. Aug. 9, 2006) (ADA/RA claims brought in Southern District for events

occurring at the McConnell Unit in Beeville, Texas); O'Neil v. Texas Dept. of Criminal

Justice, 804 F. Supp. 2d 532 (N.D. Tex. 2011) (ADA/RA claims brought in Northern

District for events occurring at the Jordan Unit in Pampa, Texas); Back v. Texas Dep't of


Defendants’ Joint Reply in Support of Motion to Transfer Venue                   Page 3 of 16
      Case 3:19-cv-00001 Document 27 Filed on 04/05/19 in TXSD Page 4 of 16



Criminal Justice Institutional Div., 684 Fed. Appx. 356, 358 (5th Cir. 2017) (ADA/RA

claims brought in Western District for events occurring at the Hughes Unit in Gatesville,

Texas); Shaw v. TDCJ-CID, 540 F. Supp. 2d 834, 835 (S.D. Tex. 2008) (ADA/RA claims

brought in Southern District for events occurring at the Estelle Unit in Huntsville, Texas);

Norman v. TDCJ-ID, CIV.A. 6:06CV403, 2007 WL 3037129, at *1 (E.D. Tex. Oct. 18,

2007), aff'd sub nom. Norman v. Texas Dept. of Criminal Justice, Institutional Div., 293

Fed. Appx. 285 (5th Cir. 2008) (ADA/RA claims brought in Eastern District for events

occurring at the Beto Unit in Tennessee Colony, Texas); Hall v. Thomas, 190 F.3d 693,

695 (5th Cir. 1999) (ADA/RA claims brought in Southern District for events occurring at

the Harris County Jail in Houston, Texas); Brown v. Wilson, 5:10-CV-181-C, 2012 WL

6719464, at *1 (N.D. Tex. Dec. 27, 2012) (ADA/RA claims brought in Northern District

for events occurring at the Montford Unit in Lubbock, Texas); Malley v. TDCJ-ID,

6:06CV507, 2007 WL 9747586, at *1 (E.D. Tex. Sept. 18, 2007) (ADA/RA claims brought

in Eastern District for events occurring at the Beto Unit in Tennessee Colony, Texas). 1

        This Court should grant Defendants’ Motion in keeping with relevant case law

because, Plaintiff’s complaint makes very clear that her ADA/RA claim arises solely from

the treatment her son received from individuals at the Hodge Unit.2 In fact, under Section


1
  This is not an exhaustive list of cases.
2
  Defendants have not found any case law that supports the claim that the State can permanently confine
persons in inpatient psychiatric treatment facilities, particularly where the patients are noted as doing “very
well” with “significant improvement.” ECF No. 1 at ¶35. Texas’ Mental Health Code does not appear to
permit placing persons in inpatient psychiatric facilities without periodic reviews of the propriety of their
placement in such a setting or, more importantly, permitting them to leave. See Tex. Health & Safety Code
Ann. § 572.003 (“a person voluntarily admitted to an inpatient mental health facility under this chapter has
the right: (1) to be reviewed periodically to determine the person's need for continued inpatient treatment”);
see also Tex. Health & Safety Code Ann. § 572.004 (A voluntary patient is entitled to leave an inpatient


Defendants’ Joint Reply in Support of Motion to Transfer Venue                                     Page 4 of 16
        Case 3:19-cv-00001 Document 27 Filed on 04/05/19 in TXSD Page 5 of 16



IV of her complaint, entitled “Causes of Action” Plaintiff provides the following bases for

her ADA/RA claim:3

                   51) The Hodge Unit is a facility, and its operation comprises a
                   program and service, for Rehabilitation Act and ADA
                   purposes.

                   52) The incarceration [at the Hodge Unit], safe housing [at the
                   Hodge Unit], the DDP [at the Hodge Unit], "crisis
                   management [at Skyview next to the Hodge Unit]," inpatient
                   psychiatric care [at Skyview next to the Hodge Unit], and
                   "constant and direct observation [on May 26, 2017 at the
                   Hodge Unit]," among other things, are programs and services
                   TDCJ and UTMB provided to people.

                   […]4

                   56) TDCJ denied Sawyer the reasonable accommodations of:
                         i. "constant direct observation" [just prior to his death
                         on May 26, 2017 while at the Hodge Unit] when he was
                         known to be acutely suicidal and awaiting admission to
                         an inpatient psychiatric facility;
                         ii. confiscation of his bedding and other materials [just
                         prior to his death on May 26, 2017 while at the Hodge
                         Unit] just that could be used to make a ligature;
                         iii. assignment to a multi-person cell, [just prior to his
                         death on May 26, 2017 while at the Hodge Unit] where
                         a cellmate could alert officers that Sawyer was
                         beginning to hang himself [at the Hodge Unit]; and,

                   57) UTMB denied Sawyer the reasonable accommodations of:
                         i. permanent admission to an inpatient psychiatric
                         facility[, Skyview, which is next to the Hodge Unit];
                         and,
                         ii. emergency admission to "crisis management" [at
                         Skyview, which is next to the Hodge Unit] when

mental health facility in accordance with this section after a written request for discharge is filed with the
facility administrator or the administrator's designee).
3
  References to the Hodge Unit are placed in brackets based on a reasonable understanding of the statement
of facts immediately preceding this section of the complaint wherein Plaintiff outlines each one of these
bases for her ADA/RA cause of action in greater detail.
4
    These paragraphs provide generalized statements as to how TDCJ violated the different factors under the ADA/RA.


Defendants’ Joint Reply in Support of Motion to Transfer Venue                                         Page 5 of 16
      Case 3:19-cv-00001 Document 27 Filed on 04/05/19 in TXSD Page 6 of 16



                          UTMB providers determined Sawyer                needed
                          immediate, temporary inpatient care.

                 58) In the alternative, if UTMB did not inform TDCJ about
                 Sawyer's emergent condition and need for reasonable
                 accommodations on May 25, 2017 [while at the Hodge Unit],
                 then UTMB also denied Sawyer the reasonable
                 accommodation of instructing TDCJ to safely house Sawyer
                 [in the Hodge Unit] and provide "constant and direct
                 observation [just prior to his death on May 26, 2017 while at
                 the Hodge Unit]."

ECF No. 1:9-11. Plaintiff’s complaint not only does not support any contention that

policymakers, or their policies, are of central importance in this case, it directly belies such

a contention; every single basis Plaintiff alleges her ADA and RA claim is built on is for

an event that occurred in, or next door to, the Hodge Unit. Id.

        The fact that the events giving rise to this suit all occurred in the Eastern District is

the reason that Plaintiff’s second primary basis for denying transfer—that hard copies of

Mr. Letcher’s relevant records are kept in Huntsville and Galveston—should also be found

unpersuasive. ECF No. 22:11-12. This is because, like Defendants’ policies, Defendants’

record keeping is also not at issue in this case. Moreover, this Court has held that when a

case, like this one, is governed by the general venue statute, 28 U.S.C. § 1391(b), “[t]he

location of documentary records is not mentioned in the venue statute and is irrelevant to

determining whether venue is proper in the first instance.” Severance v. Patterson, CV

H-06-2467, 2006 WL 8438466, at *5 (S.D. Tex. Nov. 28, 2006) (emphasis added). Thus,

in addition to being a non-basis for Plaintiff’s suit, the location of records is immaterial to

this Court’s determination of which venue is proper.

        In addition to failing to create a factual nexus between this Court and the case,


Defendants’ Joint Reply in Support of Motion to Transfer Venue                        Page 6 of 16
       Case 3:19-cv-00001 Document 27 Filed on 04/05/19 in TXSD Page 7 of 16



Plaintiff’s claim that policymakers and the location of records should permit venue choice

in the Southern District, regardless of where the Plaintiff resides or the events of the case

took place, should be even more unpersuasive when considered in the greater context of

inmate litigation in the State of Texas. Hundreds of inmates filed suit against TDCJ, UTMB

and/or their personnel in 2018 alone. If venue in the Southern District is appropriate on

Plaintiff’s proposed grounds—when the actions an inmate complains of can be connected,

even tenuously, to a policy decision or because all inmates’ physical records are located in

the Southern District—this Court will be the proper venue for all inmate litigation in the

State of Texas. This is why the determination for proper venue is whether the chosen forum

has a factual nexus to the case, rather than the location of policymakers and paperwork.

III.    Key Witnesses Are Located in Cherokee County Where all the Events
        Complained of Took Place.

        Plaintiff denies to this Court that the witnesses listed in Defendants’ motion to

transfer venue are key to this case and, in rebuttal, names 34 others who she claims are

more critical to her ADA/RA claim.5 Plaintiff’s “key” witnesses have no bearing or

personal knowledge relevant to this case. Moreover, the actual witnesses to the events

giving rise to this suit, which occurred at the Hodge Unit in May 2017, all reside in

Cherokee County.



5
  In addition to these 34 witnesses, Plaintiff also argues that she intends to retain an expert witness who will
likely have to fly in from another location and can more easily do so by flying into Hobby Airport and
driving the 42 miles to Galveston, Texas. ECF No. 1:16-17. This Court has stated “[t]he convenience of
expert witnesses weighs little in the [venue] analysis.” Houston Trial Reports, Inc. v. LRP Publications,
Inc., 85 F. Supp. 2d 663, 669 (S.D. Tex. 1999). Even if it did play any part in the consideration of proper
venue, Tyler, Texas has the Tyler Pounds Regional Airport with commercial flights daily; it is 15 minutes
from the federal courthouse.


Defendants’ Joint Reply in Support of Motion to Transfer Venue                                     Page 7 of 16
      Case 3:19-cv-00001 Document 27 Filed on 04/05/19 in TXSD Page 8 of 16



        A.       Plaintiff’s Witnesses are Immaterial to this Case Involving Events that
                 Took Place at the Hodge Unit in 2017.

        While Plaintiff lists the location of each of her “key” witnesses, her explanations of

who these witnesses are do not indicate, in any way, why these persons would have

knowledge of the events that occurred at the Hodge Unit in May 2017 that led to Mr.

Letcher’s death and form the basis of her complaint. See ECF No. 1 at ¶¶56-57. Plaintiff

does not cite to any portion of her complaint when explaining who these witnesses are or

what facts they may have knowledge of relevant to this case. Id. Indeed, as most, of the

listed witnesses either never interacted with Mr. Letcher or saw him at times irrelevant to

the complaint, it is almost certain that the majority of these witnesses will never be called

to testify in this case.

        Plaintiff first names TDCJ and UTMB policymakers and supervisors,6 none of

whom have been alleged to have been involved in the events leading up to Mr. Letcher’s

death or are thought to have any knowledge of the events themselves. ECF No. 22:13-14.

As shown above in section II, Plaintiff’s ADA/RA cause of action is not premised on

deficient or improperly-applied policy. Plaintiff does not explain what testimony is needed

from any of these people to prove her claims.

        Plaintiff also names a number of LVN, RNs, and other medical professionals that

treated7 Mr. Letcher at other prisons, over a year prior to his death, for issues including



6
  The names provided are: 1. Dr. Owen Murray; 2. Dr. Joseph Penn; 3. Dr. Lannette Linthicum; 4. Bryan
Collier; 5. Lorie Davis; 6. Karen Hall. ECF No. 22:13-14.
7
  Although Plaintiff claims the RNs and LVNs “treated” Mr. Letcher for mental health issues, that is not
something LVNs or RNs are statutorily allowed to do. Tex. Occ. Code § 301.002(2)(G), (5); Tex. Occ.
Code § 157.0512(a); Thayer v. Adams, 364 Fed. Appx. 883, 891 (5th Cir. 2010).


Defendants’ Joint Reply in Support of Motion to Transfer Venue                              Page 8 of 16
      Case 3:19-cv-00001 Document 27 Filed on 04/05/19 in TXSD Page 9 of 16



mental health.8 Id. at p. 14-15. There is no dispute in this case, as known by Plaintiff who

has the records that TDCJ and UTMB disclosed, that Mr. Letcher had mental health issues

or suicidal ideations, so such testimony, particularly redundant testimony, will be

unnecessary. And Plaintiff’s complaint does not even mention another unit, other than

Hodge Unit, much less allege that the treatment Mr. Letcher received at other units prior

to Hodge was ever deficient. See ECF No. 1. Instead, Plaintiff makes clear that the primary

events complained of as violating Mr. Letcher’s rights under the ADA or RA occurred at

Hodge. See id. Plaintiff also names medical professionals who performed an autopsy on

Mr. Letcher,9 however, Plaintiff makes no claim that there is any dispute over how Mr.

Letcher died. Id. at p. 15.

        Plaintiff also names four people who are the custodian of records for the documents

provided to Plaintiff in this case.10 Id. Again, aside from naming who they are, Plaintiff

does not explain what testimony she requires from personnel who recently gathered records

in this case. As previously stated, Plaintiff’s ADA and RA claims do not arise from an

incident involving paperwork. Moreover, Plaintiff fails to explain why persons who merely

compiled records in a location unrelated to the events of this case in March of 2018 would

have personal knowledge of the events giving rise to this suit that occurred at the Hodge


8
  The names provided are: (1) Evelyn Skutca, LVN; (2) Jean Clark, PA; (3) Carol Payne, LVN; (4) Annette
Woodfork, RN; (5) Etha Harris, MHC; (6) Dr. Michael Ang-Rabanes, M.D.; (7) Deborah Bendit, LVN; (8)
Tammy Souter, RN; (9) Brenda York, LVN; (10) Rhonda Samora, LVN; (11) Solly Mathew, RN; (12)
Philip Farley, MD; (13) Jairo Salazar, LPC; (14) Anie Tomy, LVN; (15) Sherly Aduparyil, RN; and (16)
Juliette George, Psy.D. Id. at p. 14-15. Also named is Cecilia Horton, RN, who was a TDCJ Health Services
Liaison with seemingly no connection or involvement to Letcher and his care.
9
  These names are: (1) Dr. Judith Aronson, M.D.; (2) Dr. Robert Johnston, D.O. Id. at p. 15.
10
   These names are: (1) Sarah Wright; (2) Diane Dorward; (3) Lisa Lopez; (4) Jill Lewis. As explain further
in fn. 12, Lewis is the only witness the parties agree may have personal knowledge relevant to this case.


Defendants’ Joint Reply in Support of Motion to Transfer Venue                                 Page 9 of 16
     Case 3:19-cv-00001 Document 27 Filed on 04/05/19 in TXSD Page 10 of 16



Unit in May 2017. To be sure, they would have none.

        Interestingly, Plaintiff also names several people who she asserts to have been

involved in housing decisions that would have impacted Mr. Letcher.11 Id. at p. 13.

Noticeably missing from Plaintiff’s list, however, are people who were directly involved

in Mr. Letcher’s housing placement at times significant to Plaintiff’s complaint. As

disclosed to Plaintiff on March 22, 2019 and seen in Exhibit A, there are several people

who were involved in housing decisions for Mr. Letcher on May 25 and 26, 2017—the day

before and day of Mr. Letcher’s death. See ECF No. 1 at ¶¶56-57 (Plaintiff framing the

bases of her ADA/RA claim as Mr. Letcher being denied reasonable accommodations in a

number of ways on May 25-26, 2017). As seen in Exhibit A, those persons are identified

by initials. Plaintiff’s counsel, acknowledging their importance and claiming the

information was directly relevant to the motion to transfer, contacted Defendants’ counsel

specifically to ensure those names were provided before their Response was filed.12 See

Exhibit B. The names - Assistant Warden Keith January, Captain Charles Bristow, Lt.


11
   These names are (1) Phyllis McWhorter, R.N.; (2) Cecilia Horton; (3) Joni White, R.N. Id. at p. 13.
McWhorter was a witness in Keith Cole, et al. v. Bryan Collier, et al., a class action seeking air-conditioning
at the Pack Unit. Other than being a manager for TDCJ Health Services Liaison with a Huntsville phone
number during 2012, Plaintiff wholly fails to state how McWhorter was personally involved in Letcher’s
care. Plaintiff also names Cecilia Horton as the current TDCJ Health Services Liaison. The referenced
exhibits do not support this identification; Plaintiff’s Exhibit 1 does not have a page 12, nor does Exhibit 2
reference Horton. Regardless, like McWhorter, Plaintiff fails to state how Horton had any personal
involvement with Letcher’s care. And besides naming Joni White as a manager with classification, Plaintiff
does not state how she was personally involved in Letcher’s housing assignment. Merely naming
individuals from discovery in other cases involving TDCJ and UTMB—that are completely unrelated to
Letcher’s death—does not support that venue is proper in the Southern District for this case.
12
   Although Plaintiff’s counsel originally stated he need all persons involved in any housing decisions of
Mr. Letcher, counsel met and conferred on the issue on March 27, 2019 and agreed that the only dates
relevant to this suit would be May 25 and May 26. Thus, defense counsel offered to find the names for
personnel listed by initial on those dates (see Ex. A) and provide them to Plaintiff; Plaintiff’s counsel
agreed. See Ex. C.


Defendants’ Joint Reply in Support of Motion to Transfer Venue                                   Page 10 of 16
     Case 3:19-cv-00001 Document 27 Filed on 04/05/19 in TXSD Page 11 of 16



Leslie Adams, Warden Robert Stevens, and Major Joe Gonzales – were thereafter sent to

Plaintiff’s counsel and defense counsel informed them that these persons were located in

the Eastern District. See Exhibit C. As these witnesses were listed as key witnesses in

Defendants’ Motion, it appeared from Plaintiff’s counsel’s letter that all parties agreed

these witnesses were necessary to this case.13 ECF No. 18:7. However, these people were

never identified as key witnesses anywhere in Plaintiff’s Response filed only two days

later. It seems unlikely these witnesses would not be important but the witnesses Plaintiff

identified, who were far more tenuously involved, or not at all, in Mr. Letcher’s housing,

would be.

        B.       Key Witnesses Reside in Cherokee County.

        In addition to the witnesses Plaintiff previously acknowledged as key to this case—

Assistant Warden Keith January, Captain Charles Bristow, Lt Leslie Adams, Warden

Robert Stevens, and Major Joe Gonzales—the other witnesses that reside in Cherokee

County or nearby are those that may have personal knowledge of the events that give rise

to Plaintiff’s ADA and RA cause of action. The witnesses Defendants listed in their Motion

were disclosed to Plaintiff and relevant records to her claim were provided to her prior to

her filing a Response to Defendants’ motion. Nonetheless, Plaintiff appears to represent

that Defendants’ key witnesses are not, in fact, key to her case. As was discussed in

Defendants’ motion, and as can be seen in the documents Plaintiff possesses, these




13
   Aside from Major Joe Gonzalez, who will be added to the list of witness in TDCJ’s supplemental
disclosures. As relayed to Plaintiff on March 28, 2019, Major Joe Gonzales works at the Coffield Unit. See
Exhibit C.


Defendants’ Joint Reply in Support of Motion to Transfer Venue                               Page 11 of 16
     Case 3:19-cv-00001 Document 27 Filed on 04/05/19 in TXSD Page 12 of 16



witnesses are key for the reason that they all worked and were present during the events

leading up to, and during the immediate aftermath of, Mr. Letcher’s suicide. Specifically,

these witnesses may have the following personal knowledge and involvement:14

     1.  Warden William Jones (Rusk, Texas) is the current Sr. Warden at Hodge and
         would be aware of procedures on the unit.
     2. Sgt. Joel Monroe (Rusk, Texas) responded to the cell on May 26, 2017 and
         witnessed Mr. Letcher being lowered to the floor and subsequently relieved SGT
         Sloan on chest compressions.
     3. Asst. Warden Keith January (Rusk, Texas) was the asst. warden at the time of
         Mr. Letcher’s death.
     4. CO Robert Brown (Rusk, Texas) was conducting security rounds on May 26,
         2017 and giving out cold water when he observed Sawyer Letcher hanging in his
         cell. CO Wilfredo Balderas was with him at the time.
     5. CO Wilfredo Balderas (Rusk, Texas) was with Robert Brown when he found
         Mr. Letcher hanging. He also observed Mr. Letcher reading a book at his desk
         approximately 15 minutes prior to being found hanging.
     6. CO James Dawson (Rusk, Texas) was involved in the EAC report from Mr.
         Letcher’s suicide attempt on May 24th and 25th immediately preceding Mr.
         Letcher’s May 26th death.
     7. Sgt. Danny Brown (Rusk, Texas) called for incident command system when he
         was told by CO Robert Brown that Mr. Letcher was hanging. He also entered the
         cell with SGT. Sloan and CO Balderas. He cut the sheet with trauma shears while
         SGT. Sloan and CO Balderas held Mr. Letcher up.
     8. Lt. Leslie Adams (Rusk, Texas) signed off on housing changes in the
         classification records in days before incident.
     9. Lt. Steven Sloan (then SGT.) (Palestine, Texas) responded to the cell and
         assisted with cutting Mr. Letcher down. Sloan began chest compressions while
         SGT. Brown began rescue breaths.
     10. Charles Bristow (Colorado City, Texas) was the captain on duty when death
         occurred and notified OIG of the death. Appears to have prepared the EAC report
         and he is listed as the incident commander. He responded to the cell on the day
         of the incident.
     11. CO Dennis Hughes (Rusk, Texas) was involved in the report regarding the death
         of Mr. Letcher.

14
  This is not an exhaustive list. It also does not include the two witnesses - Tracy Hall and Jill Lewis - that
were in Defendants’ Motion only because these were the only witnesses that Plaintiff appears to agree may
be key witnesses; they are also the only witnesses Defendants named that are in the Southern District.
Unlike the other witnesses in TDCJ’s list, however, Hall and Lewis were not involved in any of the events
leading up to Mr. Letcher’s death that Plaintiff primarily complaint about. Hall and Lewis were
administrative personnel and were involved in the investigation occurring after Mr. Letcher’s death.


Defendants’ Joint Reply in Support of Motion to Transfer Venue                                   Page 12 of 16
     Case 3:19-cv-00001 Document 27 Filed on 04/05/19 in TXSD Page 13 of 16



     12. Chuck Edmonson, RN, responded to the ICS for Letcher’s hanging. He remains
         employed by UTMB at the Skyview Unit.
     13. Mary C. Tennison, RN, responded to the ICS for Letcher’s hanging. She remains
         employed by UTMB at the Skyview Unit.
     14. Kenneth Bain, LVN conducted Solitary/Prehearing Flow rounds on May 25,
         2017 at 3:00pm and noted Letcher was alert and oriented to person, place, and
         time; and that his appearance, behavior, and verbalization were appropriate to
         situation. Mr. Bain is currently employed by UTMB at the Coffield Unit located
         in Tennessee Colony.
     15. Anita M. Watson, RN, responded to the ICS for Letcher’s hanging. She remains
         employed by UTMB at the Skyview Unit.
     16. Donna G. Stebbins, RN responded to the ISC for Letcher’s hanging. She remains
         employed by UTMB at the Skyview Unit.
     17. Mary M. Hunter, LVN responded to the ICS for Letcher’s hanging. She remains
         employed by UTMB at the Skyview Unit.
     18. Paul A. Germany, MA, MHC, saw and spoke with Letcher on the morning of
         May 26, 2017, about 6 hours before he committed suicide. He also spoke with
         Letcher on May 25, 2017, and noted Letcher was suicidal and treated at the local
         emergency room. He remains employed by UTMB at the Hodge Unit.
     19. Tamesha A. Heard, LVN, interacted with Letcher on May 25, 2017, when
         Letcher refused to take his mental health medications. She remains employed by
         UTMB at the B. Moore Unit in Overton, Texas.
     20. Caroyln J. Pyle, RN, responded to Letcher’s suicide attempt on May 24, 2017
         and sent him to the local emergency room. She remains employed by UTMB at
         the Skyview Unit.
     21. David C. Davis, PhD, provided mental health treatment at the Skyview Unit in
         the weeks leading up to Letcher’s suicide. He remains employed by UTMB at the
         Hodge Unit.
     22. Val W. Bass, MS, LPC, is the program director for DDP, and is employed at the
         Hodge Unit. He will provide testimony regarding Letcher’s placement and
         treatment in DDP at the Hodge Unit.
     23. Frank A. Leonard, MD, is a provider at the Skyview Unit and treated Letcher in
         the weeks before his suicide. On May 26, 2017 when Letcher was found hanging,
         he ordered the responding nurses to suspend the standard delegating order and
         immediately transfer via EMS to local emergency department.

        As Plaintiff is well aware, these witnesses are, indeed, the key witnesses in this case

that may have personal knowledge of the actual claims made in Plaintiff’s complaint.15 As


15
  Although Plaintiff takes issue with the amount of detail Defendants provided in their original Motion as
to the significance of these witnesses, this supplemental detail in the present Reply brief should be


Defendants’ Joint Reply in Support of Motion to Transfer Venue                               Page 13 of 16
     Case 3:19-cv-00001 Document 27 Filed on 04/05/19 in TXSD Page 14 of 16



cited above in section II, Plaintiff specifically alleges the ways in which she believes

UTMB and TDCJ failed to accommodate Mr. Letcher in the days prior to his death at the

Hodge Unit. See ECF No. 1 at ¶¶56-57. Thus, it is a near certainty Plaintiff will seek to

depose more of Defendants’ listed witnesses than her own in order to determine how much

evidence there is of those allegations that form the basis of her ADA/RA suit. See id.

Moreover, should this case stay in the Southern District, these witnesses will be outside the

Southern District's subpoena power for deposition under Fed. R. Civ. P. 45(c)(3)(A)(ii),

and any trial subpoenas for these witnesses to travel more than 100 miles would be subject

to motions to quash under Fed.R.Civ. P. 45(c)(3). See In re Volkswagen of Am., Inc., 545

F.3d 304, 316 (5th Cir. 2008) (“The second private interest factor is the availability of

compulsory process to secure the attendance of witnesses.”).

                                                Conclusion

        Ultimately, venue is proper in the “judicial district in which a substantial part of the

events or omissions giving rise to the claim occurred.” 28 U.S.C.A. § 1391. Plaintiff has

brought suit against Defendants for that events that occurred in Rusk, Texas. Therefore,

Defendants respectfully request this case be transferred to the appropriate venue: the

Eastern District of Texas, Tyler Division.

                                                        Respectfully submitted.


sufficient, and appropriate, for this Court to make a determination as to whether these are the true key
witnesses in this case. See Section 3851 Standard in Considering Transfer—Convenience and Location of
Witnesses, 15 Fed. Prac. & Proc. Juris. § 3851 (4th ed.); see also Chesapeake Operating, Inc. v. Stratco
Operating Co., Inc., 2007 WL 788166, *4 (W.D. Tex. 2007) (“Although the Defendant initially failed to
sustain its burden of proof by specifically identifying the key witnesses to be called in this case, Defendant's
Reply Brief sufficiently identifies the key witnesses in this case and summarizes their expected
testimony.”).


Defendants’ Joint Reply in Support of Motion to Transfer Venue                                    Page 14 of 16
     Case 3:19-cv-00001 Document 27 Filed on 04/05/19 in TXSD Page 15 of 16



                                                        KEN PAXTON
                                                        Attorney General of Texas

                                                        JEFFREY C. MATEER
                                                        First Assistant Attorney General

                                                        DARREN L. MCCARTY
                                                        Deputy Attorney General for Civil
                                                        Litigation

                                                        SHANNA MOLINARE
                                                        Assistant Attorney General
                                                        Chief, Law Enforcement Defense Division

                                                        /s/ Adam Fellows
                                                        ADAM FELLOWS
                                                        Assistant Attorney General
                                                        Texas State Bar No. 24002080
                                                        Southern District ID. 3109855
                                                        Adam.Fellows@oag.texas.gov
                                                        ATTORNEY-IN-CHARGE FOR TDCJ

                                                        /s/ Heather Rhea
                                                        HEATHER RHEA
                                                        Assistant Attorney General
                                                        Texas State Bar No. 24057611
                                                        Southern District ID. 2399979
                                                        Heather.Rhea@oag.texas.gov
                                                        ATTORNEY-IN-CHARGE FOR UTMB

                                                        OFFICE OF THE ATTORNEY GENERAL
                                                        P.O. Box 12548
                                                        Austin, Texas 78711-2548
                                                        (512) 463-2080 / Fax (512) 457-4654
                               Notice of Electronic Filing
       I, ADAM FELLOWS, Assistant Attorney General of Texas, certify that I have
electronically submitted for filing, a true copy of the foregoing Reply in Support of
Defendants’ Joint Motion to Transfer Venue in accordance with the Electronic Case
Files System of the Southern District of Texas, on April 5, 2019.

                                                            /s/ Adam Fellows
                                                            ADAM FELLOWS


Defendants’ Joint Reply in Support of Motion to Transfer Venue                             Page 15 of 16
     Case 3:19-cv-00001 Document 27 Filed on 04/05/19 in TXSD Page 16 of 16



                                                            Assistant Attorney General
                                 Certificate of Service
       I, ADAM FELLOWS, Assistant Attorney General of Texas, certify that a true copy of
the foregoing has been served on all counsel of record via CM/ECF on April 5, 2019, as
authorized by Fed. R. Civ. P. 5(b)(2) and in accordance with the electronic case filing
procedures of the United States District Court for the Southern District of Texas.

                                                            /s/ Adam Fellows
                                                            ADAM FELLOWS
                                                            Assistant Attorney General




Defendants’ Joint Reply in Support of Motion to Transfer Venue                           Page 16 of 16
